Case 2:22-cv-00547-MJH Document 18-6 Filed 06/13/22 Page 1 of 2




                EXHIBIT 3
                                  Case 2:22-cv-00547-MJH Document 18-6 Filed 06/13/22 Page 2 of 2
                                                                    DOCKET NUMBER
                                                                                      Trial Court of Massachusetts
                   CLERK'S NOTICE
                                                                        1881CV00261
                                                                                      The Superior Court


CASE NAME:


  Chris Samuel, on behalf of Himself and all others similarly situated                 Michael A. Sullivan, Clerk of Court

  vs. Serur Agencies Management, Inc. et al                                            Middlesex County


TO:                                                                                   COURT NAME & ADDRESS

    Diane Marjorie Saunders, Esq.
                                                                                       Middlesex County Superior Court - Woburn
   Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                                                                       200 Trade Center
   One Boston Place                                                                    Woburn, MA 01 801
   Suite 3500
   Boston, MA 02108

                              You are hereby notified that on 06/17/2019 the following entry was made on the above
referenced docket:
Endorsement on Motion for special motion to dismiss (#5.0): and compel individual arbitration: Other action taken
Motion is allowed in that this case is stayed for one year, at that time absent action by a party, this case will be
restored to the active docket. The reason the court decides this motion in this fashion is that the court finds that this
result is not required and is discretionary. (2) The superior court decisions cited are not similar to this case.




 DATE ISSUED                       ASSOCIATE JUSTICE/ ASSISTANT CLERK                                        SESSION PHONE#


   06/17/2019                            Hon. John T Lu                                                        (781)939-2748

Date/Time Printed: 06-17-2019 12:23:14                                                                                       SCV016_X1\ 08/2014
